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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                        )
                                                 )
                            Plaintiff,           )
                                                 )
             vs.                                 )     No. 4:07CR656-DJS
                                                 )
AVERY WEST and KIMBERLY WEST,                    )
                                                 )
                            Defendants.          )


                                         ORDER


             On December 21, 2007, the government filed a motion for

pretrial determination of admissibility of arguably suppressible

evidence [Doc. #90], and on February 7, 2008, defendants Avery West

and Kimberly West filed separate motions to suppress illegally

seized evidence [Docs. #111, 122].                   On May 28, 2008, the United

States     Magistrate   Judge     entered    a       report   and       recommendation,

recommending that the government’s motion be granted and that the

defendants’ motions be denied, and giving the parties eleven days

to file any objections.           On June 9, 2008, twelve days after the

filing of the report and recommendation, defendant Kimberly West,

by   and   through    her    retained     counsel,       filed      a   motion   for    an

extension     of     time    to   file     objections         to    the    report      and

recommendation [Doc. #203].              Although untimely, the Court will

consider defendant’s motion.
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           Defendant’s counsel states that he was unable to timely

file objections to the report and recommendation because he was

called out to trial in another matter on June 3, and then had to

travel to Chicago for oral arguments on June 6.            Defendant seeks an

additional forty-five days to prepare a response to the report and

recommendation.

           The Court is not persuaded that such an extension is

warranted,     and    therefore     will   deny    defendant’s     motion     for

additional     time    to    file    objections      to    the     report     and

recommendation.       Upon careful consideration of the May 28, 2008,

report and recommendation of the United States Magistrate Judge

[Doc. #189], and the lack of timely objections thereto,

           IT IS HEREBY ORDERED that defendant Kimberly West’s

motion for an extension of time to file objections to magistrate’s

report and recommendation [Doc. #203] is denied.

             IT IS FURTHER ORDERED that the magistrate judge’s May 28,

2008,   report   and   recommendation      [Doc.   #189]    is   accepted     and

adopted.

           IT IS FURTHER ORDERED that the government’s motion for

pretrial determination of admissibility of arguably suppressible

evidence [Doc. #90] is granted.

           IT IS FURTHER ORDERED that defendant Avery West’s motion

to suppress illegally seized evidence [Doc #111] is denied.




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           IT IS FURTHER ORDERED that defendant Kimberly West’s

motion to suppress illegally seized evidence [Doc #122] is denied.


     Dated this       10th      day of June, 2008.


                                       /s/Donald J. Stohr
                                       UNITED STATES DISTRICT JUDGE




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